Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 1 of 10

esso 2453(05-MA) (P.¢v. 06/05) Judgm¢m in a Cn'minai case
Shcet 1 - D. Massachusens - 10f05

 

UNITED STATES DIsTRiCT COURT

District of Massachusetts
uNiTED s'rATEs 01= msch JUDGMENT m A cRIMINAL cAsE
v.
B"d“’i“ "‘°“°°h° case Number: i; 03 cR 10337 - 001 - RGS

USM Number: 27149-038
David J. Apfel

 

 

 

 

Defendant’ At'torney
' I:I Aadiiional documents attached
THE DEFENDANT:
|Zl pleaded guilty to coum{s) lsss, 2sss -l 8sss, 21sss - 32sss
pleaded nolo contendere to count(s)
which was accepted by the court.
m was found guilty on count{s)
a.‘lter a plea of not guilty.
The defendant is adjudicated guilty of these offenses: Additional Counts - See continuation page
massman cummings mm cain
21 USC § 346 Conspiracy to Diltribute, to Dispense, and to Possess with Intent to 10/31/03 1555 & glass
Disn'ibute, Controlled Substances
21 USC § 84l(a)(1} Distribution and Dispensing of Controllcd Substances 09/! 6/08 2sss-em & zzus-zcsss
18 USC § 3?1 Conspiracy to Misbrand Drugs Wliile Held for Sa.le After Shipment 11/01/08 7sss

in Interstate Conu:nerce

The defendant is sentean as provided in pages 2 through ]g of this judgment Tlie sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

m The defendant has been found not guilty on count(s)
Count(s) """ °'W“MSW“‘I“M"°“" m is E are dismissed on the motion of the United States.

 

 

_ _ lt is ordered t_hat the defendant _rnust notify the United States attorney for this district within 30 days of any cl;ar.icilge of name, residence,
or mailin address until_all fines, restitution,_costs, and s cial assessments imposed by this judgment are th ly paid. If ered to pay restitution,
the defen ant must notify the court and United States mey of material chen es in economic circumstancesl

 

 

Judge, U.S. District Court

 

Name and Titlc ofJudge

2- 2|-!)_.

Dn.te

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 2 of 10

mac zisaios-MA) (iisv, 06/05) Judgm¢m in a criminal case
sims is - D. Mmhus¢as - ioros

Jud - f
DEFENDANT; Baldwin Ihenacho B"‘°"‘ P°Y _-L- 0 ___I.I_
CASE NUMBER: 1: 08 CR 10337 - 001 - RGS

ADDITIONAL COUNTS OF CONVICTION

USM _N.!L\J.L€.QF_O_H£B§£ QH£M£.EIM §_iuui!
l8 § 33 l (lt), § 333 Misbranding Drugs While Held for Sale Aher Shipment in 04/]1/08 8sss-12sss
(a)(2) & 353(b)(1) lnterstate Commerce
18 USC §1956(h) Conspiracy to Commit lntemational Money laundering 11/01/08 l3sss & 27sss
18 USC §1956(a)(2) International Money Laundering 09/19/08 14sss-18sss &

28855-32555

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 3 of 10

§AO 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Casc
Shect 2 ~ D. Mnssaehusetts - 10/05

DEFENDANT: Baldwln Ihenacho
CASE NUMBER: 1: 08 CR 10337 - 001 - RGS

lMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 63 month(s)

consisting of terms of 63 months on Counts lsss through 6sss, lSsss through 18sss, and 21sss through 32335; a
term of 48 months on Count 7sss; and terms of 36 months on Counts Ssss through 12sss, all to be served
concurrently, widi credit for time served. g
m The court makes the following recommendations to the Bureau of Prisons:

The defendant be placed in a minimum security facility, close to his family, commensurate with security.

m The defendant is remanded to the custody of the United States Ma.rshal.

E The defenth shall surrender to the United States Ma.rshal for this district:

E at l'_'| a.m. l:l p.rn. on
|:]as notified by the United swiss Mmhai.

 

E The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
m before 2 p.m. on
m as notified by the United States Marshal.
gas notified by the Probation or Pretrial Services Oft'ice.

 

wsm-me _3 of __L_...__

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNH'EI§ sTATEs MARSHAL
By

 

DE'PUTY UNlTED STATES MARSHAL

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 4 of 10

\AO 24SB(OS-MA) (R.ev. 06/05) Judgnent in a Crimirial Case
Sheet 3 - D. Maesachusetts - lOfDS

 

Judgrrrent_Page 4 of 10

DEFENDANT: Baldwln Ihenacho
CASE NUMBER: lt 08 CR 1033'.»'r - 001 - RGS

sUi>ERvISED RELEASE E s¢.¢.,..ii.....i.,..,..,
Upon release from imprisonment the defendant shall be on supervised release for a term of : 24 month($)

term consists of terms of 2 years on Counts lsss through 7sss, 13sss through lSsss, and 21sss through 32sss; and a term of 1 year on
Counts Ssss through lZsss, all such terms to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release &om the
custody of the Bureau of Pnsons. .

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfull possess a controlled sirbstance. The defendant shal_l refrain from any unlawful use of a controlled
substance. The defenth shall su mrt to one drug test within l$ days of release from imprisonment and at least two penodrc drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation ofticer.

m The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a f'irean'n, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
13 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

E The defendant shall register with the state sex offender registration agency in the state where the defenth resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Checlil if applicable.)

If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o Payments sheet of thrsjudgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

S'I`ANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission ofthe court or probation officer;

2) the:li`iefendtli:nt shall report to the probation officer and shall submits truthful and complete written report within the first five days of
ea irion ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation ofEcer;
4) the defendant shall support his or her dependents and meet other farnin responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, disn'ibute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons en ed in criminal activity and shall not associate with any person convicted of a
felony, unless granted penrussion to do so by the pro a on officer;

10) the defendant shall permit a probation officer to yisit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer,

1 l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the ro_batr`on officer, the defendant shall notify_third parties of risks that may be occasioned by the defendant's criminal
record or erson 'history_ or characteristics and shall permit the probation oHicer to make such notifications and to confirm the
defendant s compliance with such notification requirement

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 5 of 10

§AO 2453(05'MA) (R¢V- 061'05) Ji.idgment in a Ciiminal Casa
Sheet 5 - D. Ma.sslchusetts - 10105
M
]"dsmmi _ Pa€° _ 5 of 10
DEFENDANT: Baldwin Ihenacho
CASE NUMBER: 12 08 CR 10337 - 001 - RGS

CRINIINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

document gm Mg“
ToTALs s $3,000.00 $ $ _

The determination of restitution is deferred until . An Amended Juakment i`n a Cri'mi'nal Cas'e (AO 245C) will be entered
a.Rer such detemiination.

ij The defendant must make restitution (inc|uding community restitution) to the following payees in the amount listed below.

If the defenth makes a partial payment, each page shall receive an approxiitnoatleslyi})ro rtion§d€ayment, unless specified otherwise in
. i

the o order or en e a merit column low. However, ursuant S. . 36 ), all nonfederal victims mustbe aid
b¢rop£ iii§yunied smpi°¢§°is iii-isp y p § P
mentions w al * B_eri.tiitiira.grdam mcmd’_ai;¢satm
ij See Cont:inuation
Page
ToTALs s $0.00 s $0.00

|] Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than 52.500, unless the restitution or fine is paid in full before the
fifteenth day alter the date of the judgment pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

E| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
|::| the interest requirement is waived for the |:| fine m restitution.
m the interest requirement for the m fine m restitution is modified as follows:

*Findi forthetotalamountoflosscsare ` d d Ch te lO9A,llO,llOA, ll A fT'l l f ff '
Sepwmi'ibig 131 1994l but b¢fore April 23’ lMi.iire u.n er ap rs and 3 o ite 8 oro ensesconrmittedonorafter

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 6 of 10

\Ao zass(os-MA) (R.-v. 06105) Judgmem in n criminal cm
sheer 6 - D. muchqu - 10/05

J“dBm°“‘-P¢se _ 6 of 1a
DEFENDANT: Blldwlll Ihel_\acho
cAsE NUMBER: 1: 08 CR 10337 - 001 . RGS

 

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A |:| Lump sum payment of $ $3'000'00 due immediately, balance due

not later than , or
in accordance m Cl m D, l:| E, or UF below; or
B g Payment to begin immediately (may be combined with m C, m D, or |:| F below); or

C g Payment in equal (e.g., weckly, month|y, querterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D m Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E E Payment during the term of supervised release will commence within (e.g., 30 or 60 days) alter release from
imprisonment The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F m Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressl ordered otherwis_e, ifthis judgent imposes imprisonment aiment of criminal monetary penalties is due durit_t
imprisonman Alt cronin montana penalties, except se payments made through3 e Federal Bureau of Pnsons' Inmate Fmanet
Reeponstb:lity Program. are made to e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

. m See Continuation
EJotnt and Several Page

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Totai Amount, Joint and Severat Amount,
and corresponding payee, if appropriate

EThe defendant shall pay the cost of prosecution.
m The defendant shall pay the following court cost(s):
E"['he defenth shall forfeit the defendant's interest in the following property to the United States:

F;)y:inents shall be applied in the following order: (l assessment (2) restitution principal, (3) restitution interest. (4) fine principal,
costl.

ne interest1 (6) community restitution, (7) pc ties, and (8) costs, including cost of prosecution and court

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 7 of 10

AO 2458 (Rcv. 06/05) Criminal ludgment
Attacl'nnmt (Page l)- Statement of R.easons - D. Massachusetis - 10/05

DEFENDANT: Bll.dwll'l IbellIChO ludgm°m_"_Page 7 of 10
CASE NUMBER: 1: 08 CR 10337 - 001 - RGS
DISTRICT= MAssAcHUsETTs

STATEMENT OF REASONS

I COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

A l:l The court adopts the presentence investigation report without change.

B d The court adopts the presentence investigation report with the following changes.
(Check all that apply and specify court determination, iindings, or connnenrs, referencing paragraph numbers in the presentence report if applicable.)
(Use Section Vlll if necessary.)

1 l:l Chapter Two of the U.S.S.G. Manual determinations by court (inc|uding changes to base offense level, or
specific offense characteristics)'. ~
2 d Cha pier Tllree of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustrnents,

role in the offense, obstruction ofjustice, multiple counts, or acceptance ofresponsibilit'y):
1|73: An increase for aggravating role is not applicd; 173b: An increase for usc cfa minor is not applied.

3 n Chapter Four of the U.S.S.G. Maaual determinations by court (iacluding changes to criminal history category or
scores career offender, or criminal livelihood detenninations)'.

4 EI Addltiona| Commeats or Fladiags (including comments or factual findings concerning certain information iri the
presentence report that the Feder'sl Bureau of?risons may rely on when it makes inmate classification desigriation,
or programming decisions):

C i:l The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

A d No count ot` conviction carries a mandatory minimum sentencel

B [] Mandatory minimum sentence imposed.

C m One or more counts of conviction alleged iri the indicnnent carry a mandatory minimum term of imprisonmentl but the
sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum

does not apply based on

m findings offset in this case
|:] substantial miami us U.s.c. § 3553(¢))
|:| the mary safety waive ila U.s.c. § sssr(o)

lII COURT DETERMlNATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

Tota.l Of!`cnse Levcl: 26

Criminal History Categcry: l

Imprisonment Range: 53 to 78 months
Superviscd Release Rangc: 2 to 3 years
Fine Range: 5 iz.soo w $ iz.ooo.ooo

ll Fine waived or below the guideline range because cf inability to pay.

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 8 of 10

AO 2453 (OS-MA) (Rev. 06/05) Cn`minal Judgmcnt

Attachment (Page 2) - Srarnmcnt ofR.easons - D. Massachusetts - iO/OS

DEFENDANT: Baldwin Ihenacho Judgment-Psge 8 of 10
CASE NUMBER: I: 08 CR 10337 - 001 - RGS

DISTRICT:

MASSACH'USE'ITS
STATEMENT OF REASONS

IV ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

AtZl
alj

cE|

DEl

The sentence ls within au advisory guideline range that ls riot greater than 24 montha, nod the court l\nds ou reason to departl

The sentence is within au advisory guideline range that is greater than 14 mouths, end the speech sentence is imposed for these reasous.
(Use Section Vlll if necessary.)

The court departs from the advisory guideline range for reasons snthoriud by the sentencing guidelines manuaL

(Also complete Scction V.)

The court imposed a sentence outside the advisory sentencing guideline systcm. (Also complete Section Vl.)

V DEPARTURES AUTHORIZED BY TI'IE ADVISORY SENTENCING GUIDELINES (If applicable.)

A The sentence imposed departs (Check only one.)‘.

l:|
El

below the advisory guideline range
above the advisory guideline range

B Departure based on (Check all that apply.):

l

Plea Agreement (Check all that apply and check reason(s) below.):

|:] 5KI.1 plea agreement based on the defendant's substantial assistance

l:| 5K3.1 plea agreement based on Early Disposition or “Fast-track” Program

l:] binding plea agreement for departure accepted by the court

|:] plea agreement for departure, which the court finds to be reasonable

|:| plea agreement that states that the government will not oppose a defense departure motion.

Motion Not Addressed iii s Plea Agreement (Check all that apply and check reason(s) below.):
5KI.1 government motion based on the defendant's substantial assistance '

5K3.l government motion based on EarIy Disposition or “Fast-track" program

government motion for departure

defense motion for departure to which the government did not object

defense motion for departure to which the government objected

Other
l:l Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):

|:llj|:l|:l|:l

C Reason(s) for Departure (Check all that apply other than SKl .l or 5K3.l.)

4Al.3
SHl.l
$H|.2
5Hl.3
Sl'ilA
SHl.S
5Hl.6
SHl.ll

5K2.0

l:l l:ll:ll`_'l[:ll:ll:ll:ll:l

crirnlnul Hinnry inadequacy [] sl<z.l oench |:] 51<2. l l turner Hnnn
Age m 51(2.2 Pl'rysica| injury |:| 5K2.12 Coercion and Duress
Education and Vocational Skills m 5K2.3 Extrmre psychological lnjury m 5K2.13 Diminished Capacity
Menlal and E.motional Condition [:| 5K2.4 Abduction or Unlawflil Restraint |:] 5K2. 14 Public Welfare
Physical Condition m 5K2.5 Property Damage or Loss g SKZ. 16 Voluntary Disclosul'e of Oi!`ense
Employment Record [:] 5K2.6 Weapon or Dangerous Weapon |:] SK2. 17 High-Capncity, Semiautomntic Weapon
Family Ties and Responsibilities [:] SKZ.'i Disruption ofGo'vemment Function m 5K2. l 8 Violent Street Gang
Militnry Record, Charitab|e Service, m SKZ.B E)ttreme Conduct [:] 5K2.20 Aberrant Behsvior
Good Works [| 51<2_9 criminal surprise |:| sitz,zl criminal mr Urnhurnnrl condurn
Aggravating or Mitigating Circumstances m 51(2.10 Victim’s Conduct |:] 5K2.22 Age or Health of Sert Oi’t`enders
m 5K2.23 Discharged Terms oflmprisonment
|:] Other guideline basis (¢.g., 23 l.l commentary)

D Explsin the facts justifying the departure {Use Section VIH if necessa.ly.)

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 9 of 10

AO 245B ( OS-MA) (Rev. 06/05) Criminal ludgment
Attachment (Page 3) - Statement of Reasons - D, Ma.ssachusetar 10!05

DEFENDANT: naidwrrr lrrerraeho J“dg'“°“*_"“€° 9 °f 1°
CASE NUMBER: 1= irs cR 10337 - 001 - RGS '
DISTRICT= mssAciiussTTs

STATEMENT OF REASONS

Vl COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADV]SORY GUIDELINE SYSTEM
(Check ali that apply.)

A The sentence imposed is (Check only one.):
g below the advisory guideline range
l:l above the advisory guideline range

B Senteirce imposed pursuant to (Check all that apply.):

l Plea Agreement (Check ali that apply and check reason(s) below.):
U binding plea agreement for a sentence outside tire advisory guMeiine system accepted by the court
g plea agreement for a sentence outside the advisory guideline systnm, which the court finds to be reasonable
m plea agreement that states that tire government will not oppose a defense motion to the court to sentence outside the advisory guideline
system

2 Motiou Not Addressed in a Piea Agreement (Check all that apply and check reason(s) below.):
g government motion for a sentence outside of the advisory guideline system
m defense motion for a sentence outside of the advisory guideline system to which the government did not object
g defense motion for a sentence outside of the advisory guideline system to which the government objected

3 Other
m Ot.her than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below.):

C Reason(s) for Seritence Ouiside the Advisory Guideliue System (Check all that apply.)

I:] the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(l)

I:| to reflect the seriousness of the oEense, to promote respect for the lawl and to providejus't punishment for the offense ( 18 U.S.C. § 3553(a)(2)(A))
|:| rn marc adequate deterrence rn erirnr'rrer conduct (i a u.s.c. § ssssie)rz)(s))

g _to protect the public from nrrther crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))

m to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
(18 U.S.C. § 3553(a)(2)(D))
m to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(s)(6))

g to provide restitution to any victims of the offense (|8 U.S.C. § 3553(a)(7))

D Expiain the facts justifying a sentence outside tire advisory guideline system. (UseSection VIII if necessary.)

Case 1:08-cr-10337-RGS Document 386 Filed 02/21/12 Page 10 of 10

no 2453 ( os-MA) (Rev. 06/05)Crrrninrr1 Jurrgrrreni
Attacl'iment (Page 4) - Statement of Rcasons - D. Massachusetis ~ lOr'OS

Bnldwin lhenncho Judgment_-Page 10 of 10
DEFENDANT:
CASE NUMBER; 12 08 CR 10337 - 001 - RGS
DISmCTZ MA.SSACHUSETTS
STATEMENT OF REASONS

VlI COURT DETERMINATIONS OF RESTITUTION
A m Restitution Not Applicable.

B Totai Amount of Restitution:
C Restitution not ordered (Check only one.):

l m For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
identifiable victims is so large as to make restitution impracticable wider 18 U.S.C. § 3663A(c)(3)(A).

2 \:] For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because determining complex
issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a deg'ee
that the need to provide restitution to any victim would be outweighed by the bin-den on the sentencing process under 18 U,S.C\ § 3663A(c)(3)(B).
3 l:] For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelinesl restitinion is not
ordered because tire complication and prolongation of the sentencing process resulting from the fashioning ofa restitution order outweigh
the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1)(B)(ii).

4 I] Restilrrtion is not ordered for other reasons (Explain.)

D l:] Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):

Vlll ADDITIONAL FACI`S JUSTIFYING THE SENTENCE IN TI'IIS CASE (If applicabie.)

Sections I, II, I]I, IV, and VII of the Statement ofReasons form must be completed in all felony cases.

  

Defendant’s Scc. Sec. No.: 000'00'3989

 

 

      

neferrdenr'r one of ainrr: 1953 n gt
d ‘. L."',_
Defendant’s Residence Address: St°“sh'v"» MA- Si 11 ture of 1
The Honorable Ri G. Stsa.ms .ludge, U.S. District Court

 

Defendant’s Mailing Address: Naine and Title nf.iii

DateSigned -zl "" L

